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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA
         IN RE:    STEPHEN C. BEKOWSKI                                CASE NO. 18-11581

                   JERI C. BEKOWSKI                                   SECTION A

                   DEBTORS                                            CHAPTER 7



                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          CitiMortgage, Inc., as servicer for US Bank National Association as Trustee for CFMSI

   REMIC Series 2004-01-REMIC, Pass-Through Certificates Series 2004-01 (“Movant”), a

   secured creditor, through undersigned counsel, respectfully moves the Court to lift the automatic

   stay based on the following representations:

                                                   1.

          This is a contested matter brought pursuant to Bankruptcy Rules 4001 and 9014.

                                                   2.

          The Court has jurisdiction to grant the relief pursuant to Section 362 of the United States

   Bankruptcy Code.

                                                   3.

          An automatic stay took effect on the filing of a bankruptcy petition under Chapter 7 of

   the Bankruptcy Code on June 19, 2018. The filing prohibits the commencement or continuation

   of any action against Debtors' Property without court authority.

                                                   4.

          CitiMortgage, Inc. services the loan on the Property referenced in this Motion for Relief.

   In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtors

   obtain a discharge and a foreclosure action is commenced on the mortgaged Property, the
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   foreclosure will be conducted in the name of US Bank National Association as Trustee for

   CFMSI       REMIC      Series   2004-01-REMIC,        Pass-Through   Certificates   Series   2004-01

   (“Noteholder”). Noteholder directly or through an agent has possession of the Promissory Note.

   The Promissory Note is either made payable to Noteholder or has been duly endorsed.

   Noteholder is the original mortgagee or beneficiary or the assignee of the security instrument for

   the referenced loan.

                                                    5.

          Movant is the holder of a Promissory Note executed by Stephen C. Bekowski and Jeri

   Westrope Bekowski, dated July 22, 2003, in the principal sum of $81,000.00, made payable to

   the order of WMC Mortgage Corp., endorsed to CitiFinancial Mortgage Company, Inc.,

   endorsed in blank and held by Movant. The Note is secured by and paraphed “Ne Varietur” for

   identification with an Act of Mortgage of even date and amount on the following described

   Property:




                Municipal Address: 1936 Joseph Drive, Saint Bernard, Louisiana 70085
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          A copy of the Note, recorded Mortgage and recorded Assignments are attached as an

   Exhibit.

                                                   6.

          The Statement of Intention provides for Debtors' intent to surrender the Property.

                                                   7.

          As of June 22, 2018, Debtors are delinquent in the payment of twelve (12) monthly

   installments of $559.72 each due for June 1, 2017 to May 1, 2018 and one (1) monthly

   installment of $1,278.27 due for June 1, 2018, for a total delinquency of $7,994.91, plus

   attorney’s fees and costs should Debtors agree or they be awarded by the Court. Movant has not

   received any payments since the bankruptcy filing.

                                                   8.

          Debtors list the value of the Property in Schedule D at $65,000.00, and Movant accepts

   that value for purposes of this motion. As of June 22, 2018, the total debt due to Movant is

   approximately $78,516.82 as outlined in the Affidavit in Support of the Motion for Relief, which

   is attached as an Exhibit. Based on the value, the claim amount and considering the expenses

   associated with administration or foreclosure, there is insufficient equity in the Property to

   protect Movant’s interest adequately.

                                                   9.

          Movant requests that the Court lift the stay because Debtors have insufficient equity in

   the Property to warrant administration, and the Property is unnecessary for an effective

   reorganization. 11 U.S.C. 362(d)(1)(2)(A)(B).
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                                                    10.

          Movant further requests that the order lifting the stay remain in full force and effect if this

   case is converted to any other chapter of the Bankruptcy Code and that Movant be authorized to

   continue with its state court action if necessary.

                                                    11.

          In the alternative, Movant requests adequate protection as the Court deems reasonable

   and appropriate.

          WHEREFORE, CitiMortgage, Inc., as servicer for US Bank National Association as

   Trustee for CFMSI REMIC Series 2004-01-REMIC, Pass-Through Certificates Series 2004-01,

   respectfully prays as follows:

   1.     That after notice and an opportunity for a hearing if an opposition is filed timely, the

          Court lift the automatic stay, or

   2.     Alternatively, that the Court order adequate protection or appropriate relief, and

   3.     That in either event the Court award reasonable attorney’s fees and costs for the

          preparation and prosecution of this motion.

                                                          Respectfully submitted,

                                                          /s/ Cris Jackson
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